Case 6:06-cr-00027-JCB-KNM                                            Document 1072                       Filed 10/18/07   Page 1 of 1 PageID #:
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                                                 IN THE UNITED STATES DISTRICT COURT

                                                   FOR THE EASTERN DISTRICT OF TEXAS

                                                                              TYLER DIVISION

 UNITED STATES OF AMERICA                                                                       §

 v.                                                                                             §             CRIMINAL ACTION NO. 6:06cr27

 SIMON RICARTE BALDERAS, JR., ET                                                                §
 AL.

                                                    ORDER ADOPTING REPORT AND
                                                 RECOMMENDATION OF UNITED STATES
                                                MAGISTRATE JUDGE AND PARTIAL ORDER
                                                           OF DISMISSAL


               The Report and Recommendation of the Magistrate Judge, which contains her findings,

 conclusions, and recommendation for the disposition of ancillary forfeiture proceedings, has been

 presented for consideration. The Report and Recommendation recommends that the Motion to

 Dismiss Petition of Glenda Thomas and Sally Whittenberger (document #803) and the Motion to

 Dismiss Petition of Juanita Gamez (document #847) be granted. No written objections have been

 filed to the Report and Recommendation. Therefore, the findings and conclusions of the Magistrate

 Judge are hereby adopted as those of the Court.

               In light of the foregoing, it is

               ORDERED that the Motion to Dismiss Petition of Glenda Thomas and Sally Whittenberger

 (document #803) and the Motion to Dismiss Petition of Juanita Gamez (document #847) are

 GRANTED.

                                                        So ORDERED and SIGNED this 18th day of October, 2007.




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                                                                                                     __________________________________
                                                                                                     LEONARD DAVIS
                                                                                                     UNITED STATES DISTRICT JUDGE
